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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-00881-STV

VLADISLAV DORONIN,

      Plaintiff,

v.

SWIFT COMMUNICATIONS LLC,

      Defendant.


     ORDER SETTING DEADLINE FOR FILING ELECTION CONCERNING
CONSENT/NON-CONSENT TO MAGISTRATE JURISDICTION FORM AND SETTING
                    SCHEDULING CONFERENCE

Entered By Magistrate Judge Scott T. Varholak

      This case has been directly assigned to Magistrate Judge Scott T. Varholak
pursuant to D.C.COLO.LCivR 40.1(c).

      IT IS ORDERED:

       1.     Pursuant to D.C.COLO.LCivR 72.2(d), the parties shall complete and file
the Election Concerning Consent/Non-Consent to United States Magistrate Judge
Jurisdiction form, available from the Court’s website at www.cod.uscourts.gov, on or
before June 23, 2022.

       2.    Pursuant to Fed. R. Civ. P. 16(b) and Local Civil Rule 16.1, the Court shall
hold a scheduling conference on:

                                July 7, 2022 at 10:45 AM

in Courtroom A-402, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
Colorado. Please remember that anyone seeking entry into the courthouse will be
required to show valid photo identification. See D.C.COLO.LCivR 83.2(b). If this date is
not convenient for any party, the parties should either confer and file a motion or jointly
call Chambers at 303.335.2365 to reschedule the scheduling conference to a more
convenient date.
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      3. At least 21 days in advance of the scheduling conference, the parties shall
meet and attempt to agree upon a scheduling order pursuant to Fed. R. Civ. P. 26(f). The
Court strongly encourages the parties to meet face to face, but should that prove
impossible, the parties may meet by telephone conference. All parties are jointly
responsible for arranging and attending the Rule 26(f) conference.

        During the Rule 26(f) conference, the parties shall discuss all of the issues
identified in Fed. R. Civ. P. 16(c)(2) and Fed. R. Civ. P. 26(f)(2-3), including the nature
and basis of their claims and defenses and the possibilities for a prompt settlement or
resolution of the case, make or arrange for the disclosures required by Fed. R. Civ. P.
26(a)(1), and develop their proposed scheduling/discovery plan. The parties should also
discuss the possibility of informal discovery, whether the parties anticipate the need for
experts, and whether the parties anticipate substantial electronic discovery. The parties
should be prepared to discuss these issues at the scheduling conference.

       4. On or before June 30, 2022, the parties shall file a joint proposed scheduling
order in the form required pursuant to D.C.COLO.LCivR 16.2. A copy of the instructions
for the preparation of the proposed scheduling order and the required form can be
downloaded from the court’s website at www.cod.uscourts.gov.                Pursuant to
D.C.COLO.LCivR 16.1, plaintiff shall be responsible for filing the proposed scheduling
order, except in cases removed to this court, in which cases the party who removed the
case shall file the proposed scheduling order. The proposed scheduling order shall be
submitted electronically pursuant to District of Colorado Electronic Case Filing (“ECF”)
Procedures V.6.1.

       5. The parties shall comply with the mandatory disclosure requirements of Fed.
R. Civ. P. 26(a)(1).

       6. Pursuant to Fed. R. Civ. P. 26(d), no discovery shall be served prior to the Rule
26(f) meeting.


DATED: April 14, 2022                            BY THE COURT:


                                                 s/Scott T. Varholak            s
                                                 United States Magistrate Judge




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